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                   IN THE m I T E D STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION

UNITED STATES OF AMERICA,
                                                CR 08-29-M-DWM
                        Plaintiff,
                                                FINDINGS & RECOMMENDATION
                                                CONCERNING PLEA


JERROD HENRY FISTER,
                        Defendant.

     The Defendant, by consent, has appeared before me under Fed.

R. Crim. P. 11 and has entered a plea of guilty to one count of
unlawful user of controlled substance in possession of firearms
in violation of 18 U.S.C. 5 922 (g)( 3 ) , as set forth in the
Indictment.
     After examining the Defendant under oath, I have made the
following determinations:
     1.     That the Defendant is fully competent and capable of
entering an informed and voluntary plea,
     2.     That the Defendant is aware of the nature of the charge


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against him and consequences of pleading guilty to the charge,
     3.   That the Defendant fully understands his constitutional
rights, and the extent to which he is waiving those rights, by
pleading guilty, and,
     4.   That the plea of guilty is a knowing and voluntary plea,
supported by an independent basis in fact sufficient to prove
each of the essential elements of the offense charged.
     The Court further concludes that the Defendant had adequate
time to review the Plea Agreement with counsel, that he fully
understands each and every provision of the agreement and that
all of the statements in the Plea Agreement are true.         Therefore,
I recommend that the Defendant be adjudged guilty of the charge
set forth in the Indictment, and that sentence be imposed.'
     This report is forwarded with the recommendation that the

Court defer a decision reaardina acceptance until the Court has

reviewed the Plea Aareement and the presentence report.

          DATED this        day o




      Objections to these Findings and Recommendation are waived
unless filed and served within ten (10) days.       28 U.S.C. §
636(b)(1)(B); Fed. R. Crim. P. 59(b) (2)   .
